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PROB 12C(D)                                                                               December 28, 2022
(05/17)                                                                                           pacts id: 6526951




                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                 SOUTHERN DISTRICT OF CALIFORNIA
                      Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Pablo Del Carmen-Emigdio (Spanish)                          Dkt No.: 20CR01179-001-AJB
Reg. No.: 93054-298
Name of Sentencing Judicial Officer: The Honorable Anthony J. Battaglia, U.S. District Judge

Original Offense: 8 U.S.C. § 1326(a) and (b), Removed Alien Found in the United States, a Class C felony.

Date of Sentence: August 3, 2020

Sentence: 21 months' custody; three years' supervised release. (Special Conditions: If deported, excluded or
allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the
probation officer within 24 hours of any reentry into the United States; supervision waived upon deportation,
exclusion, or voluntary departure.)

Type of Supervision: Supervised Release           Date Supervision Commenced: August 27, 2021

Asst. U.S. Atty.: Jonathan I Shapiro              Defense Counsel:      Keith H. Rutman
                                                                        (Appointed)
                                                                        619-237-9072
Prior Violation History: None.

                                       PETITIONING THE COURT

TO ISSUE A NO-BAIL BENCH WARRANT
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Defendant: Pablo Del Carmen-Emigdio                                                           December 28, 2022
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The probation officer believes that the offender has violated the following condition(s) of supervision:

 CONDITION(S)                                      ALLEGATION(S) OF NONCOMPLIANCE

 (Mandatory Condition)
 Not commit another federal, state, or local           1. On or about December 26, 2022, Mr. Del Carmen-
 crime. (nv1)                                             Emigdio, a previously deported or removed alien, was
                                                          found in the United States illegally, the conduct of
 (Special Condition)                                      which is in violation of 8 U.S.C. § 1326, as evidenced
 If deported, excluded or allowed to                      by the complaint filed in the United States District
 voluntarily return to country of origin, not             Court, Southern District of California, Dkt. No.
 reenter the United States illegally and                  22MJ04684-001-BLM.
 report to the probation officer within 24
 hours of any reentry into the United States;          2. On or about December 26, 2022, Mr. Del Carmen-
 supervision waived upon deportation,                     Emigdio illegally reentered or attempted to reenter the
 exclusion, or voluntary departure.                       United States, the conduct of which is in violation of
                                                          8 U.S.C. § 1325, as evidenced by the complaint filed
                                                          in the United States District Court, Southern District
                                                          of California, Dkt. No. 22MJ04684-001-BLM.

                                                       3. On or about December 26, 2022, Mr. Del Carmen-
                                                          Emigdio illegally reentered the United States, as
                                                          evidenced by the complaint filed in the United States
                                                          District Court, Southern District of California, Dkt.
                                                          No. 22MJ04684-001-BLM.

Grounds for Revocation: As to Allegations 1 to 3, I received and reviewed complaint with probable cause
statement filed in the United States District Court, Southern District of California, Dkt. No. 22MJ04684-001-
BLM , which confirm the following: On the above date, a United States Border Patrol (USBP) agent observed
two individuals attempting to conceal themselves in brush approximately four miles north of the United States-
Mexico International Border and approximately one mile east of the Otay Mesa, California, Port of Entry. An
immigration inspection was conducted, at which time one of the individuals identified was Pablo Del Carmen-
Emigdio, a citizen of Mexico without any proper immigration documents that would allow him to enter or remain
in the United States legally. Subsequently, Mr. Del Carmen-Emigdio was arrested. Records revealed that the
offender was deported from the United States on August 27, 2021, through San Ysidro, California.

As indicated in the probable cause statement in support of the complaint, the offender had not applied for nor had
received permission from the Attorney General of the United States or the Secretary of the Department of
Homeland Security, to lawfully enter the United States subsequent to removal.

On December 27, 2022, a complaint was filed in the United States District Court, Southern District of California,
Dkt. No. 22MJ04684-001-BLM, charging the offender with 8 U.S.C. § 1326, Deported Alien Found in the United
States. The offender is scheduled for a Preliminary Hearing on January 10, 2023, before Magistrate Judge Barbara
Lynn Major.
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U.S. Probation Officer Recommendation: If found in violation, that supervised release be revoked and the
offender be sentenced to 24 months' custody with no supervised release to follow, consecutive to any sentence he
may be serving, pursuant to USSG §7B1.3(f), p.s. (An Expanded Violation Worksheet, 12CW(d), has been
attached for the Court’s review.)

 I declare under penalty of perjury that the
 foregoing is true and correct.

 Executed on: December 28, 2022

 Respectfully submitted:                                   Reviewed and approved:
 DANIEL J. KILGORE
 CHIEF PROBATION OFFICER


 by
        Rustin Brown                                       Marc W. Ryan
        U.S. Probation Officer                             Supervisory U.S. Probation Officer
        (619) 557-6726
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   PROB 12CW(D)                                                                                December 28, 2022

                                    EXPANDED VIOLATION WORKSHEET

1. Defendant: Del Carmen-Emigdio, Pablo

2. Docket No. (Year-Sequence-Defendant No.): 20CR01179-001-AJB

3. List Each Violation and Determine the Applicable Grade (See USSG § 7B1.1):
                                                                                                        Grade
          Violation(s)
     Deported Alien Found in the U.S.                                                                      B
     Illegal Entry/Attempted Reentry                                                                       C
     Illegal Entry                                                                                         C




4. Most Serious Grade of Violation (See USSG § 7B1.1(b))                                            [     B       ]

5. Criminal History Category (See USSG § 7B1.4(a))                                                  [     VI      ]

6. Statutory Maximum Term (Custody) (See 18 U.S.C. § 3583(e)(3))
   Upon finding of a violation, the court may modify the conditions of supervision; extend the term
   if less than the maximum authorized term was previously imposed); or revoke the term of
   supervised release. If the court revokes supervised release, the maximum term of imprisonment
   upon revocation is:                                                                              [ 24 months ]

7. Range of Imprisonment (Custody) (See USSG § 7B1.4(a))
   A Grade B violation with a Criminal History Category VI establishes an imprisonment range of
   21 to 27 months. However, because the maximum of the imprisonment range exceeds the            21 to 24
   statutory maximum term, the adjusted imprisonment range is:                                  [ months ]

8. Statutory Maximum Term (Supervised Release) (See 18 U.S.C. § 3583(b))

   If supervised release is revoked and a term of imprisonment is imposed that is less than the
   maximum term of imprisonment imposable upon revocation, the court can reimpose supervised
   release upon release from custody. The length of such a term shall not exceed the term of
   supervised release authorized by statute for the offense that resulted in the original term of
   supervised release, less any term of imprisonment upon revocation. In this case, the court has the
   authority to reimpose a term of:                                                                   [ 36 months ]

9. Recommendation:              [ 24 months' custody, consecutive to any other sentence being served.
                                  See USSG § 7B1.3(f)- w/ no supervised release to follow.                        ]
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THE COURT ORDERS:

      [ A NO-BAIL BENCH WARRANT BE ISSUED BASED UPON A FINDING OF PROBABLE
        CAUSE TO BRING THE OFFENDER BEFORE THE COURT TO SHOW CAUSE WHY
        SUPERVISED RELEASE SHOULD NOT BE REVOKED FOR THE ALLEGED VIOLATIONS.
        THE PETITION AND THE WARRANT WILL BE SEALED UNTIL THE OFFENDER HAS BEEN
        ARRESTED ON THE WARRANT AND THEN THE PETITION AND WARRANT MAY BE
        UNSEALED. NOTWITHSTANDING THE SEALING, A COPY OF THE PETITION AND
        WARRANT WILL BE GIVEN TO THE U.S. MARSHAL FOR USE BY LAW ENFORCEMENT.
          (Currently detained at Metropolitan Correctional Center in San Diego, California, under Register No.
          93054-298.)
          Other




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The Honora
    Honorable
           abl
            b e Anthony J. Battaglia                                                  Date
U.S. District Judge
